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                 AFFIDAVIT OF JULIAN RUDOLPH
 Pursuant to 28 U.S.C. 1746, I, Julian Rudolph, declare under penalty of
 perjury:
    1. I am a member in good standing of the Florida Bar, who practices
       in Miami, Florida.
    2. I am the son of Lawrence and Bianca Rudolph.
    3. I fully support my father Lawrence in this matter. My sister,
       AnaBianca, and I know him better than anyone else, and we know
       that he is innocent.
    4. I also know that he will appear for all court appearances in this
       case.
    5. I am so convinced that he will not flee, I am willing to secure his
       bond with my home. This is my most significant asset, so if he
       flees, it would put me in a terrible position.
    6. I am also willing to have my father stay with me at my home in
       Miami for as long as necessary and to cooperate in making
       whatever arrangements the Court requires. I promise to do all I
       can to ensure that my father complies with all conditions of his
       release. Furthermore, I understand that aiding my father in any
       attempt to abscond would not only put my home at risk but my
       license to practice law as well.
    7. My father has serious medical conditions, including being
       pacemaker dependent. If he is not released on bond, where his
       heart can be monitored, he could suffer a fatal heart attack.
    8. Should the Court require any further information from me, I am
       happy to provide it.


 I declare under penalty of perjury that the foregoing is true and correct.
 January 16, 2022


                                   _______________________________
                                   Julian Rudolph
